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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

ROOFERS’ PENSION FUND, Individually
and On Behalf of All Others Similarly

 

 

Situated,
Plaintiffs, Civil Action No. 2:16-cv-2805-MCA-
LDW
v.
PERRIGO COMPANY, PLC, et al.,
Defendants.
PROPOSED] ORDER
Upon or een of the United heen, Motion to Intervene, as ree as all wae Aas
and Vt 0p pd: bee Ae ive the paar EA te
filings fis s hereby ORDERED ie the ae .d States shall be allowed to Pemene in this civil

action pursuant to Rule 24 of the Federal Rules of Civil i ae Ths Cio LB DdolP
Poa Wohin at ECE 0. Qlf.

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IT IS SO ORDERED.

Date:__“] ik | ie f A, he Duw Mn LJeALn USM

onorable Madeline Cox Arleo-=
United-States District Judge ° _
